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                                                                  12                                 UNITED STATES BANKRUPTCY COURT
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                 NORTHERN DISTRICT OF CALIFORNIA
                                           ATTORNEYS AT LAW




                                                                  14                                             SAN JOSE DIVISION

                                                                  15   In re:                                              Case No.: 19-51455 (MEH)

                                                                  16   HOME LOAN CENTER, INC.,                             Chapter 11

                                                                  17                                   Debtor.             NOTICE OF CONVERSION OF CHAPTER
                                                                                                                           11 CASE TO CHAPTER 7
                                                                  18

                                                                  19            PLEASE TAKE NOTICE that pursuant to section 1112(a) of the Bankruptcy Code, the

                                                                  20   chapter 11 case of the above-captioned debtor is converted to a case under chapter 7 of the

                                                                  21   Bankruptcy Code.

                                                                  22   Dated: August 29, 2019
                                                                  23                                                 By: /s/ Jeremy V. Richards
                                                                                                                         Jeffrey N. Pomerantz (CA Bar No. 143717)
                                                                  24                                                     Jeremy V. Richards (CA Bar No. 102300)
                                                                                                                         Malhar S. Pagay (CA Bar No. 189289)
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                                                                   Case: 19-51455          Doc# 77    Filed: 08/29/19   Entered: 08/29/19 14:42:17      Page 1 of 1
